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     15 THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
        IN AND FOR HILLSBOROUGH COUNTY, STATE OF FLORIDA
                          CIVIL DIVISIOIY

 HAROLD AUF1'RYANDERSON,

                      Plaintiff.
                                                                          .~,*:. r ? i ..,I   i,?,"
                                                                                                 .'*A     -
                                                                                                      .::ri>-
                                                      Case No.:           ;   ,           .           .       .
                                                                                                                  . .. ,
                                                                                                                    i . .




 CITY (IF TAMPA. FLORIDA, a Florida
 murlicipal corporation and political subdivision
 of the State of Florida, PETER J. BUCHER. Officer,
 individually and as an agent and employee of the
 City of Tainpa and Tainpa Police Department,

                      Defendants.
                                                  I


                  COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff HAROLL) ACI I'RY ANDERSON (hereinafter '-ANDERSON") sucs

 llefendants. C1 I Y OF rAhlPA, FLORIDA (hereinafter "CITY OF 7 AMPA") , a t 'lo1ida

 municipal corporation and political subdivision of the State of Florida. PE TFK BIJC'kI1:K

 (hereinafter "BUCHER")     , Officer.   individually and as an agent and employee of t l ~ eC'1t4

 of Tainpa and Tainpa Police Department and alleges:

                              PRELINIINARY STATEMENT

        1.     This is a civil action for colnpensatory damages. Plaintiff contends that

 Officer Peter J. Bucher unlawfully assaulted and battered hiin with excessive force

 without justification and in violation of the protections guaranteed by the Fourth and

 Fourteenth Ainendinents to the United States Constitution and his civil rights under

 Florida laws. Plaintiff further contends that these violations resulted from the policies,

 practices, and customs of the City of Tampa.
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       2.        These violations resulted Froin a traffic: stop and arrest. allezing Plaintiff \bas

operating his motor vehicle on April 23, 2006. while under the intluence of alcohol. As a

result of his arrest, Plaintiff's rights to be free from unreasonablc search and seizure and

to not be subjected to excessive use of force by police officers were violated. Plaintiff

suffered physical. emotional. and other compensatoqr injuries as a result of the violation

of his rights.

       3.        This action for compensatory dainages is brought under common and

statutoi?/ laws of Florida and, additionally, pursuant to 42 U.S.C. sections 1983 and 1988,

and the Fourth and Fourteenth Amendments to the linited Statec Constitution. against tlie

City of Tampa and Officer Peter Rucher.

       4.         Plaintiff requests this court to declare that the acts of the

clefendants were unconstitutional under the United States Constitu~ion.and by an atvard

of compensatory damages. conlpensate him for the violations of hi> coilstitutional rights

and deter the defendants from Further participation in such unconstitutional acts and/or

omissions.

                                 JURISDICTION AND VENUE

       5.         This is an action for darnages in excess of fifteen thousand dollars.

       6.         This action arises under and is brought in part pursuant to 42 L7.S.C. tj 1983

and $1988 to remedy the deprivation, under color of state law, of rights guaranteed by the

Fourth and Fourteenth Amendments to the United States Constitution and the laws of the

State of Florida.
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       7.     Venue is placed in Hillsborough County because it is uhere all partiei

reside and where the events complained of occurrecl.

       8.     All conditions precedent to thc maintenance of this action hake bezn

performed before its filing including those set forth in cection 768.28. Florida Statutes.

                                      THE
                                      - - PARTIES

       9.     Plaintiff Anderson is and \ ~ a s at
                                                . all times relevant to this Complaint. a

citizen of the United States and a resident of Elillsboro~~gh
                                                           County. Florida.

       10.    Defendant City of Tampa is a political subdivision of the State of Florida, a

Florida municipal corporation, 311d at all times relevant hereto. it e~nployedDefendant

Bucher.

       11.       Defendant Bucher was, at all material tiines and in all actions described

herein, acting under color of law as a police officer, and in such capacily, ac the agent.

st.1~
    ant and employee of Defendant City of' Tampa and pur~uantto all statutes.

orclinances, regulations. policies, customs and usages of the State of Florida and/or the

City of Tampa.

                                 STATE3IENT OF FACTS

       12.     On April 23, 2006: at approxiiuately 6:45 p.m., Plaintiff was operating his

1997 red Lincoln Mark 111, motor vehicle southbouiid on Interstate 275, in Tampa.

Hillsborough County, Florida.

       13.    Anderson proceeded to drive on Interstate 275 and exited onto the Ashley

Street off ramp heading southbound into downtown Tampa. Unbeltnownst to Anderson,
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Bucher was following him in a inarked unit and inade a determination that he was golng

 to malle a traffic stop.

          14.   Bucher activated his emergencq lights a ~ i drZilderso~~
                                                                      ilninediatel) uszd his

t~irnsignal in pulling over and brought his vehicle to a stop. Rucher's inarked vehicle

 contained a stationaq and operative vicleo cainera m hich he activated ~c-hilefollo~ving

Anderson's vehicle.

          15.   m i l e the video cainera was still operating. at Bucher's request Anderson

exited his vehicle. Further, Bucher directed Anderson to the sidewalk, out of sight of the

 video camera.

          16.   While the video cainera was still operating. you can hear the exchange

 between Bucher and Anderson. Bucher asked Anderson to perform field sobriety

 exercises and Anderson declined.

          17.    Within 5 minutes froin the vehicle stop. Anderson was aslced to put his

 hands behind his back and responded by informing Bucher that he has a bad shoulder.

          18.   In response, Bucher assaulted and battered 66 year old Anderson as

 Anderson was talien to thc ground. out oSsight of Bucher's stationary video camera and

 in the presence of Trooper Ben Miller. Anderson is heard complaining of his shoulder

 being hurt and is then placed in front of'the video cainera.

          19.   Anderson is placed in front of the video camera. already having been

 handcuffed behind his back, still complaining of his shoulder being hurt and Trooper Ben

 Miller is seen on the video camera wiping blood from Anderson's face and both of his

 knees.
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       20.    Bucher wrote the following description on Anderson's arrest affidavit:

                      I observed the Def driving a 1997 Lincoln Mark VIII, 2 dr. red in
                      color, F1, tag A M HAPY s'b on 1-275, exiting at the west doivntoi\n
                      exit onto Ashley Street. 1 obsemed the D e f s vehicle strike the \ball
                      (NIS) causing a cloitd of dust. I observed the Def. crossing the lane
                      marker on Ashley Street. 1 conducted a traffic stop. I observed a
                      very strong odor of an alcoholic beverage on his breath QL blood shot
                      glassy eyes an unsteadq appearance and slurred speech. The Del:
                      r e f ~ ~ s etod do iield sobrisor exercises. While attempting to handcuff
                      the Def., hc began to move his body & anns attempting to defzat our
                      control and was taken to the ground. Trooper Miller advised 1 1 1 ~they
                      were looking for the Def. veh. i l l ref. to BOLO'S of his driving.

       21.    The arrest affidavit only charges Anderson with DlJl and does NOT include

a charge for Resisting Arrest With or Without Violence.

       22.    Next, Anderson is placed in the bacltseat of Bucher's marked police cruiser.

handcurfed behind his back and videotaped wl~ilewaiting lor an anlbulance to arrive.

       23.    Andersoi1's voice is clear on the .iriileotapepost-arrest as he expresses his

anger for being physically abused ivitho~~t
                                         justilication and in violation of his

constitutional and civil rights.

       4 .    Consequently, Rucher canccled thz ambulance.

       25.    Approxiinately 4 minutes from the arrest, Anderson in handcuffs not\?in

front of his body, is again videotaped at the Central Breath Testing Unit of the

Hillsboro~ighCounty Jail at approximately 7:33 p.m.. with visible signs of physical abuse.

       26.    Anderson was released on his own recognizance in the early morning hours

on April 24,2006.

       27.    Defendant City of Tampa failed to discipline or prosecute known incidents

of excessive use of force, to investigate complaints of excessive use of force, and to
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ove~rulethe conclusions ivitliin its police department in spite of the overwhelniing

evidence that such incidents Liere unjustified and improper.

       28.    On inIormatio11 and belief, the abuse to which Aliderson ivas subjected       if,^^,



consistent with an institutionalized practice of the City of Tampa Police L)epartinent.

~vhichwas known to and ratified b j Defendant City of Tampa, and neither took an!

effective action to pre\ ent Defendant Ducher froin continuing to engage in such

misconduct.

       29.    On inforination and belief, Defendai~tCity of Tainpa had prior notice ot'the

vicious propensitie., ot'L1efendant Rucher but tool< no steps to correct his abuse of

authority or to discourage his unla\\ f ~ i use
                                            l of authority. The failure to properly train

Defendant Bucher iricludes the failure to instruct hiin in the applicable rules and

regt~lationsof the City of Tampa Police Department concerning the proper and prudent

use of force and proper detention techniques of arrestees.

       30.    On infonnation and belief. Defendant City of Tampa authorized. tolerated

as instit~itionalizedpractices and ratiiiecl the miscondtlct detailed above by:

       a.     Failing to properly discipline, restrict and control e~r~ployees,
                                                                             including

              Defendant Bucher, who were ltnown to be reckless in their dealings with

              citizens of the community.;

       b.     Failing to establish and!or endure the functioning of a bona fide and

              meaningful departmental system for dealing with coinplaints of police

              misconduct. instead of responding to such complaints with bureaucratic

              power and official denials calculated to inislead the public, properly
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              discipline. restrict and control employees. including Defendant Bucher. ~ 1 1 0

              \+ere known to be reckless in their dealings with citizens of the communit>

       3 1.   As a direct and proximare result o f the deliberate indifference o f the Ci6 oI

Tampa, to prevent or change uunconstitutional policies. customs and practices, Plaintiff

Anderson suffered the following injuries and damages:

       a.     Violation of his constitutiorlal rights under the Fourth and l~ourteentli

              Amendments to the IJnited State Constitution to be free from an

              unreasonable search and seizure of his person, to be afforded due process of

              law and equal protection under thc law;

      b.      Significant pliysical injuq, causing humiliation, elnotional distress, pain

              and suffering. sitbstantial medical and other out-of-pocltet expenses, and

              fl~turemedical expenses.

        3 2 . As a direct and proximate rzsult of the actions of Llefendant Bucher, t h ~

followinrr clearly established and well-settled Sederal conslitutional rights of Andersorl
        L,




mere violated:

       a.     Free from an unreasonable search and seizure of his person;

       b.     Freedom from the use of excessive, unreasonable and unjustified forct:

              against his person;

       c.     Equal Protection under the law; and

       d.     Due Process of law.
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                                  COUNT I
                       (BATTERY AGAINST CITY OF TAMPA)

       33.    Plaintiff realleges and reavers paragraphs 1 through 32.

       34.    On April 23, 2006, Defeildant Rucher. acting in the course and scope of his

duties as a City of Tampa Police Department police of'licer. dicl batter. touch, strilte. and

utilize excessive force against Anderson without his consent and against his will.

       35.    Defendant City of Tainpa through its employee Bucher intentionally caused

bodily harm to Anderson by using excessive force upon his person.

       36.    Plaintiff Anderson has coinplied with the notice provisions of Florida

Statutes Section 768.28 which is a condition precedent to tlie liling of a state tort against

the City of 'Tampa.

       37.    Defendant City of           is vicariously liable for the tortious acts of its

e~nployeethat were committtd within the scope and furtherance of his elnplo>~inelir

       38.    As a direct and proxiinate corisecluence of the acts of tlie CiQ, of Ttunpa

through its cli-~ployee,Rucher, Anderson suffered damages which include bodily injuries

and resulting pain and suffering, humiliation, emotional distress, medical and nursing car?

and expense. mental anguish, loss of capacity for the enjoyment of life, disability, and

aggravation of a previously existing condition. The damages are continuilig and he will

suffer them in the future.

       WHEREFORE Plaintiff, Harold Autry Anderson, deinands judgment against the

City of Talnpa for compensatory damages, costs, and such other and further relief as this

court inay deem proper. Plaintiff demands jury trial on all issues.
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                                 COUNT I1
 (43, U.S.C. 4 1983 CLAIM AGAINST OFFICER BUCHER, INDIVIDUALLY, F
                                                                m
   VIOLATION OF FOURTH AND FOURTEENTH AMENDMENT RIGHTS)

       39.      Plaintiff realleges and reavers paragraphs I through 38.

       30.      This cause of action is brought by Anderson asainst Defendant Bucher for

deprivation of cor~stitutionalrights secured under the Fourth arid Fo~~rteenth
                                                                            Anlendmunts

to the United States Constitution within the meaning of 32 U.S.C. 5 1983 through hib

willful. wanton and malicious use of excessive force under color of law.

       41.      Dcfendant Bucher violated 42 U.S.C. 6 1983 by inflicting injury upon

Arldsrson that was grossly disproportionate to thc b r c s necessary to arrest Anderson in

~iolationof his rights under the Fourth and Fourtee~lthAmendments to the I'nited States

Constitution.

       43.      Dcfendant L3uclier: while acting in the capacit;~as a police oflicer for the

Citj o F T ainpa and under color of Incv. did \vilfi~llj.maliciouslj and intentional11 use

excessive and unreasonable force to detain and arrest Andersori for an allegctl trallic

infraction.

       43.      The intentional. willful and wanton acts of Jlefendant Hucher establishes a

clailx for p~lnitivedainages by Anderson against Defendant Ducher.

       43.      The conduct of Defendant Bucher violated Anderson's clearly established

rights to be free from unreasonabIe search and seizure and unreasonable use of force as

guaranteed by the Fourth and Fourteenth Amendments to the United States Constitution

and for which 42 U.S.C. $ 1983 provides a remedy.
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        45.    As a direct and proxiinate consequence of the unconstitutional and

 wrongful acts of Defendant Bucher, Anderson suffered damages ~vliichinclude bodilq

 injuries and resulting pain and suffering, hunliliation, elnotional distress, medical and

 nursing care and expense, mental anguish, loss of' capacity for the enjoyment of life.

 disability; and aggravation of a previously existing condition. The da~naigesare

 continuing and he will suffer tl~emin the future.

        WHEREFORE Plaintiff, Harold Autry Anderson, demands judgment against

 Bucher for compensatory datnages, costs, reasonable attorneys' fees pursuant to 42

 7J.S.C. 51988 and such other and further relief as this court may deem proper. Plaintiff

 demands jury trial on all issues.

                                COUNT 111
   (42 U.S.C. 5 1983 CLAIM AGAlNST CITY OF TAMPA FOR VlOLATlON OF
             FOURTH AND FOURTEENTH AiclENmlENT RIGHTS)

        4b.    Plaintiff realleges and reavers paragraphs 1 through 45

        47.    This cause of action is brought by Anderson against Defendant City of

 Tampa for depritation by its agent, servant, or einployee namely, Defendant Bucher. v r

 constitutional rights secured under the Fourth and 1:ourtccnth A~nendlnentsto the Unitcd

 States Constitution within the meaning of 42 U.S.C. S 1983 .

        48.    Defendant Bucher, was acting in the capacity as a police officer. authorized

 agent for the City of Tampa and under color of law while detaining and arresting

 Anderson for an alleged traffic infraction in furtherance of his duties.

        49.   Defendant City of Tainpa violated Anderson's constitutional rights by

 failing to adequately train, supervise and control officer Bucher in the execution of his
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 official duties and, particularly. to ensure Rucher refrained from using exccssixre and

 unnecessar-y force in dztaining arid arresting Andcrson.

        50.      Furthennore. the constitutional clzprivation \\as caused bq the City of

 I'ampa's nulnerous areas of deliberate indifkrence including:

        a.       custom of condoning alleged instances of police brutaliv without punishing

                 its officers. l'he abo1.e mentioned actions were not isolated incidents I'hc

                 City of Tampa has a history of exoner'lting officers for allegedly using

                 excessive force against its citizens. Officers within the police departinent

                 are secure in Itnowing that a reported incident will not result in any

                 disciplinary proceeding urlless another officer can verify that the force was

                 excessike. The City of Tampa condones an officer's action e\ en when

                 other non-police witnesses have complained that the force iised \\i,~s

                 excessive. Prior to April 23. 3006. Defendant City of Tampa permitted and

                 tolerated that practice of unjustified and unreasonable uses of excessive

                 force by its officers under thc color of l;i\v.

        5 1.     The above-described actions of Defenclant Bucher, the policies of the City

 of l'ampa and the practices condoning the use of excessive and unreasonable forcc by

 agents. servants or employees of Defendant City of Tampa deprived Anderson of rights

 and privileges under the Fourth and Fourteenth Amendments to the United States

 Constitution.

        52.      Defendant Bucher violated Anderson's civil rights bqr assaulting and

 battering and inflicting injury on Anderson under color of law with force that was grossly
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 ~iisproportionatein relation to the need for action.

        53.    As a direct and proximate consequence of the unconstitutional and

 ivrongful acts of Defendant Ruzher. \chile an agent. servant oi cmplo]~
                                                                       ee of Defendai~t

 City of Tampa, and the unconstitutio~lalpolicies. customs and practices of Defendant Cit!

 of Tdl~lpa,Anderson suffered damages ~vllichinclude bodily in.j~lriesand resulting pain

 and suffering, hun~iliation.emotional distress, medical and nursing carc and expense.

 inental anguish. loss of capacity for the en-joyment of life, disability. and aggravalion of a

 previously existing condition. The da~nagesare continuing and he will suffer them in thc

 filt~~re.

        CVI IEREFORE Plaintiff. Harold Autr) Anderson, demands judgment against

 Ruchcr for compensatorq dal-rlages. costs. reasonable attorneys' fees pursuant to 42

 L1.S C . 3 1988 and such other and fi~rthcrrelief as this court rrlay deem proper. Plaia tiff

 demands jurj trial on all issues.   .




                                   PRAYER FOR RELIEF

        LVl IEFGFORE Plaintiff prays Ior entq of j udg~nentagainst dcfendarlts, joi~itly and

 severally, for colnpensatory damages as proven at trial; for costs, expenses, and attorneys'

 fees in this action pursuant to 42 1I.S.C. $1988; for an order declaring that the defendants

 have acted in violation of the United States Constitution; and such other and further relief

 as this Court niay deem proper.
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                               DEiMAND FOR JURY TRIAL

        Plaintiff demands trial by jury on all issues so triable.



I)ArI !<I) tbis   315J
                    day o l May. 2007




                                    TRENTALANGE & KELLEY, P,4.
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                                                     ,_ _ #




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